            Case 6:15-cv-06161-FPG-JWF Document 1 Filed 03/20/15 Page 1 of 5



     UNITED STATES DISTRICT COURT
 1   WESTERN DISTRICT OF NEW YORK
 2

 3   DAVID HATCH,

 4                           Plaintiff,                  Case No.:

 5           v.
                                                         COMPLAINT AND DEMAND FOR
 6   BLUESTEM BRANDS, INC. d/b/a                         JURY TRIAL
     FINGERHUT,
 7
                                                         (Unlawful Debt Collection Practices)
                             Defendant.
 8

 9
                                             COMPLAINT
10
             DAVID HATCH (“Plaintiff”), by and through his attorneys, KIMMEL &
11
     SILVERMAN, P.C., alleges the following against BLUESTEM BRANDS, INC. d/b/a
12
     FINGERHUT (“Defendant”):
13

14

15                                          INTRODUCTION

16           1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection Act

17   (“TCPA”).

18

19
                                      JURISDICTION AND VENUE
20
             2.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See Mims v.
21
     Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
22
             3.      Defendant conducts business in the State of New York and, as such, personal
23
     jurisdiction is established.
24
             4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
25



                                                   -1-

                                          PLAINTIFF’S COMPLAINT
            Case 6:15-cv-06161-FPG-JWF Document 1 Filed 03/20/15 Page 2 of 5




 1
                                                 PARTIES
 2

 3          5.      Plaintiff is a natural person residing in Henrietta, New York 14467.

 4          6.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

 5          7.      Defendant is a lender with its principal place of business located at 6509 Flying

 6   Cloud Drive, Eden Prairie, Minnesota 55344.
 7          8.      Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).
 8
            9.      Defendant acted through its agents, employees, officers, members, directors,
 9
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
10

11
                                       FACTUAL ALLEGATIONS
12
            10.     Plaintiff has a cellular telephone number that he has had for over a year.
13
            11.     Plaintiff has only used this number as a cellular telephone number.
14
            12.     The phone number has been assigned to a cellular telephone service for which
15

16   Plaintiff incurs a charge for incoming calls.

17          13.     Beginning in or around September 2014, and continuing through November

18   2014, Defendant called Plaintiff on his cellular telephone on a repetitive and continuous basis.

19          14.     During the relevant period, Defendant called Plaintiff on his cellular telephone,
20   on average, one to two times per day.
21
            15.     Upon information and belief, when contacting Plaintiff on his cellular telephone,
22
     Defendant used an automatic telephone dialing system.
23
            16.     Defendant’s telephone calls were not made for “emergency purposes.”
24
            17.     Further, in September 2014, when Defendant’s calls began, Plaintiff revoked
25



                                                      -2-

                                          PLAINTIFF’S COMPLAINT
            Case 6:15-cv-06161-FPG-JWF Document 1 Filed 03/20/15 Page 3 of 5



     any consent previously given to Defendant to place telephone calls to his cellular telephone
 1
     number.
 2

 3          18.     Defendant heard and acknowledged Plaintiff’s revocation of consent and

 4   demand to stop calling his cellular telephone number.

 5          19.     Despite the above, Defendant persisted in calling Plaintiff on his cellular

 6   telephone for several weeks.
 7          20.     For example, Defendant contacted Plaintiff on his cellular telephone on the
 8
     following dates: September 26, 2014, September 27, 2014, September 28, 2014, September 29,
 9
     2014, September 30, 2014, October 1, 2014, October 1, 2014, October 10, 2014, October 11,
10
     2014, October 12, 2014, October 13, 2014, October 14, 2014, October 15, 2014, October 16,
11
     2014, October 17, 2014, October 18, 2014, October 19, 2014, October 20, 2014, October 21,
12
     2014, October 22, 2014, October 23, 2014, October 25, 2014, October 26, 2014, October 27,
13
     2014, October 28, 2014, October 29, 2014, October 30, 2014, October 31, 2014, November 1,
14
     2014, November 2, 2014, November 3, 2014, and November 4, 2014,.
15

16

17                              DEFENDANT VIOLATED THE
                          TELEPHONE CONSUMER PROTECTION ACT
18
            21.     Plaintiff incorporates the forgoing paragraphs as though the same were set forth
19
     at length herein.
20
            22.     Defendant initiated these automated calls to Plaintiff using an automatic
21

22   telephone dialing system.

23          23.     Defendant’s calls to Plaintiff were not made for emergency purposes.

24          24.     Defendant’s calls to Plaintiff, after September 2014, were not made with

25   Plaintiff’s prior express consent.


                                                   -3-

                                          PLAINTIFF’S COMPLAINT
            Case 6:15-cv-06161-FPG-JWF Document 1 Filed 03/20/15 Page 4 of 5



            25.     Defendant’s acts as described above were done with malicious, intentional,
 1
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
 2

 3   purpose of harassing Plaintiff.

 4          26.     The acts and/or omissions of Defendant were done unfairly, unlawfully,

 5   intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal

 6   defense, legal justification or legal excuse.
 7          27.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
 8
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
 9
     damages.
10

11
                                          PRAYER FOR RELIEF
12
            WHEREFORE, Plaintiff, DAVID HATCH, respectfully prays for a judgment as
13
     follows:
14
                    a.      All actual damages suffered pursuant to 47 U.S.C. §227(b)(3)(A);
15

16                  b.      Statutory damages of $500.00 per violative telephone call pursuant to 47

17                          U.S.C. §227(b)(3)(B);

18                  c.      Treble damages of $1,500 per violative telephone call pursuant to 47

19                          U.S.C. §227(b)(3);
20                  d.      Injunctive relief pursuant to 47 U.S.C. §227(b)(3);
21
                    e.      Any other relief deemed appropriate by this Honorable Court.
22

23

24

25



                                                     -4-

                                          PLAINTIFF’S COMPLAINT
             Case 6:15-cv-06161-FPG-JWF Document 1 Filed 03/20/15 Page 5 of 5



                                 DEMAND FOR JURY TRIAL
 1
             PLEASE TAKE NOTICE that Plaintiff, DAVID HATCH, demands a jury trial in this
 2

 3   case.

 4

 5                                           Respectfully submitted,

 6
       Dated: March 20, 2015                 By: /s/ Craig Thor Kimmel
 7                                           Craig Thor Kimmel, Esquire
                                             Attorney ID # 2790038
 8
                                             Attorney for Plaintiff
 9
                                             Kimmel & Silverman, P.C.
                                             1207 Delaware Avenue, Suite 440
10                                           Buffalo, NY 14209
                                             Phone: (716) 332-6112
11                                           Facsimile: (877) 788-2864
                                             Email: kimmel@creditlaw.com
12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                              -5-

                                     PLAINTIFF’S COMPLAINT
